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                                     EXHIBIT E
                    Summary of Marchand ICS Group Expenses

                  Service Description                       Amount
                  Radio program expenses                    $6,000.00
                  Graphics creation, design, and support      $400.00
                  Teleconference services                      $79.00
                  Email Marketing                             $384.00
                  Advertising for retiree outreach          $9,227.96
                  Media monitoring services                   $873.60
                  Web analytic services                       $396.00
                  Website domain hosting                      $399.54
                  Printing                                    $663.43


                                TOTAL                      $18,423.53
